Catherine E. Bigelow brought an action against the plaintiff to recover the amount due on a land contract executed by him. She recovered a judgment therefor in the circuit court, and, on appeal to this court, it was affirmed. Bigelow v. MacCrone,ante, 217.
While this action was pending in the circuit court, the plaintiff filed the bill of complaint herein to enjoin its further prosecution. After proofs taken, it was dismissed. Plaintiff appealed.
The relief sought was available to the plaintiff in the action at law, and the chancery court had no jurisdiction.Munz Spralawn Corp. v. White Chapel Memorial Ass'n, 265 Mich. 66.
The decree is affirmed, with costs to appellees.
POTTER, NORTH, FEAD, WIEST, BUTZEL, BUSHNELL, and EDWARD M. SHARPE, JJ., concurred. *Page 648 